                                 UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF NEW MEXICO
In re:
ROMAN CATHOLIC CHURCH OF                                                    Case No.18-13027-t11
THE ARCHDIOCESE OF SANTA FE,
a New Mexico Corporation Sole,
       Debtor.

                             CORRECTED NOTICE OF EFFECTIVE DATE

        The Roman Catholic Church of the Archdiocese of Santa Fe, a New Mexico corporation sole, Debtor

in the above-captioned Chapter 11 case, pursuant to the terms and provisions of the Debtor’s First Amended

Chapter 11 Plan of Reorganization Dated November 3, 2022 (Doc. No. 1151) (together with all exhibits and as

further amended, modified, and supplemented the “Plan”), as confirmed by Order Confirming Plan (Doc. No.

1214), entered on December 28, 2022, hereby gives notice that the Effective Date of the Plan, as defined in

Section 3.73 of the Plan, occurred on February 16, 2023, and that all conditions to occurrence of the Effective

Date, as described in Section 18.1 of the Plan, occurred on or before that date, and that therefore, the Effective

Date of the Plan is February 16, 2023.

                                                           Respectfully submitted by:

                                                           WALKER & ASSOCIATES, P.C.
                                                           s/filed electronically 02/17/2023
                                                           Thomas D. Walker
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                                                           e-mail: twalker@walkerlawpc.com
                                                           Attorneys for Debtor in Possession


CERTIFICATE OF SERVICE: In accordance with NM LBR 9036-1 and Fed. R. Civ. P. 5(b)(3), this certifies
that on February 17, 2023, a true copy of the foregoing was served via the Court’s CM/ECF notification
facilities to those parties who are registered CM/ECF participants in this case.

s/ filed electronically 02/17/2023
Thomas D. Walker




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